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 2
                                      UNITED STATES DISTRICT COURT
 3
                                               DISTRICT OF NEVADA
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 5
         Matthew E. Orso in his capacity as Court-           Case No. 2:24-cv-01256-RFB-DJA
 6       appointed receiver for Rex Venture Group,
         LLC dba ZeekRewards.com,
 7                                                                            Order
                                  Plaintiff,
 8
               v.
 9
         Charlie Fulton, et al.
10
                                  Defendants.
11

12             Before the Court is Nationwide Judgment Recovery, Inc.’s motion for substitution of

13   plaintiff. (ECF No. 4). Nationwide explains that Defendant Charlie Fulton was a beneficiary of a

14   massive Ponzi scheme called ZeekRewards. The Securities and Exchange Commission shut the

15   scheme down in 2012 and appointed a receiver, Kenneth Bell, to reclaim ill gotten funds obtained

16   by “net winners” of the scheme like Defendant. Bell filed a class action case in the Western

17   District of North Carolina and ultimately obtained final judgments against thousands of net

18   winners.

19             In 2019, Matthew Orso was appointed as successor receiver. In that role, he sold

20   thousands of final judgments to Nationwide in July of 2019, including the judgment against

21   Defendant. Nationwide asserts that the transfer of interest in the judgments was completed on

22   December 16, 2019. 1 Afterwards, the Western District of North Carolina amended the caption of

23

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     1
       Nationwide asserts that the documents supporting these transfers are attached as exhibits to its
25
     motion. However, Nationwide did not attach these exhibits. Nonetheless, by signing the motion,
26   attorney Whitney Wilcher, Esq. has certified that the factual contentions about the transfer of
     interest and the subsequent amendment of the Western District of North Carolina’s caption has
27   evidentiary support. See Fed. R. Civ. P. 11. Additionally, the Court has reviewed the docket in
     the Western District of North Carolina, including the assignment of judgment Nationwide filed in
28   that case and the order granting Nationwide’s motion to amend the caption. See Orso et al. v.
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 1   the final judgment to replace Orso with Nationwide and many courts in the Middle District of

 2   Florida have ruled on Nationwide’s substitution motions—like the motion here—and granted

 3   them. 2

 4             Federal and Nevada Rules of Civil Procedure 25(c) provide for substitution of parties

 5   where a transfer of interest has occurred during litigation. Whether to transfer is within the

 6   discretion of the Court. In re Bernal, 207 F.3d 595, 598 (9th Cir. 2000); Nationstar Mortgage

 7   LLC v. Fiesta Del Norte Homeowners Assoc., Case No. 2:16-cv-00497-APG-BNW, 2020 WL

 8   10787496, at *1 (D. Nev. 2020). However, “[t]he most significant feature of Rule 25(c) is that it

 9   does not require that anything be done after an interest has been transferred ... the judgment will

10   be binding on his successor in interest even though he is not named.” In re Bernal, 207 F.3d at

11   598 (citation omitted).

12             The Court finds substitution appropriate. Although not controlling, the numerous federal

13   courts in Florida that have granted Nationwide’s substitution requests are persuasive here. The

14   Court also finds that where the assignee wishes to enforce the judgment, substitution is

15   appropriate and necessary. The Court thus grants Nationwide’s motion.

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18   Disner et al., Case No. 3:14-cv-91, at ECF Nos. 1506-1, 1581. The Court thus accepts these
     representations.
19   2
      Nationwide refers to Bell v. Woods, Case No. 5:20-mc-10-JSM-PRL (M.D. Fla. 2022); Bell v.
20   Samuels, Case No. 6:21-mc-122-RBD-EJK (M.D. Fla. 2022); Orso v. Gentile, Case No. 6:21-mc-
     154-LHP (M.D. Fla. 2022); Orso v. Forbes-King, Case No. 6:21-mc-00083-WWB-LHP (M.D.
21   Fla. 2022); Orso v. Lettsome, Case No. 6:21-mc-12-PGB-LHP (M.D. Fla. 2022); Orso v. Pateau,
     Case No. 6:21-mc-80-CEM-EJK (M.D. Fla. June 21, 2022); Orso v. Nagabina, Case No. 8:21-
22   mc-131-KKM-JSS (M.D. Fla. June 15, 2022); Orso v. Lewis, Case No. 6:21-mc-104-RBD-GJK
23   (M.D. Fla April 7, 2022); Orso v. Angervil, Case No. 6:21-mc-00146-CEM-DCI (M.D. Fla.
     August 10, 2022); Bell v. Zhang, Case No. 6:21-mc-00017-WWB-DCI (M.D. Fla. August 10,
24   2022); Matthew E. Orso v. Alba Moreno, Case No. 8:21-mc-00025-MSS-AEP (M.D. Fla.
     September 7, 2022); Matthew E. Orso v. Dawn Morrow, Case No. 8:21-mc-00070-TPB-JSS
25   (M.D. Fla. September 7, 2022); Matthew E. Orso v. Americo Vargas, Case No. 8:21-mc-8-MSS-
     AEP (M.D. Fla. September 7, 2022); Matthew E. Orso v. Antonio G. Germain, Case No. 6:21-
26   mc-00084-PGB-DCl (M.D. Fla. September 15, 2022); Matthew E. Orso v. Xia Mel, Case No.
27   6:21-mc-24-PGB-DCI (M.D. Fla. September 15, 2022); Kenneth D. Bell and Nationwide
     Judgment Recovery, Inc. v. Nathaniel Woods, Case No. 5:20-mc10-JSM-PRL (September 23,
28   2022).


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 1          IT IS THEREFORE ORDERED that Nationwide’s motion for substitution (ECF No. 4)

 2   is GRANTED. The Clerk of Court is kindly directed to substitute Plaintiff Matthew E. Orso with

 3   Nationwide Judgment Recovery, Inc.

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 5          DATED: July 18, 2024

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                                                       DANIEL J. ALBREGTS
 8                                                     UNITED STATES MAGISTRATE JUDGE
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